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                                                                             NORTI IERN IJISTHJCT OF TEXAS
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                       IN THE UNITED STATES DISTRIC COU
                            NORTHERN DISTRICT OF TE AS                                  JAN _
                                FORT WORTH DIVISION    ['
                                                                                                3 2019
ANDREW SCOTT FULKERSON,                             §                        CU'.RK, U.S. DISTRICT COURT

                Plaintiff,
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                                                    §
vs.                                                 §    NO. 4:18-CV-880-A
                                                    §
WEHNER MULTIFAMILY, LLC,                            §
                                                    §
               Defendant.                           §


                             MEMORANDUM OPINION AND ORDER

        Came on for consideration the motion of defendant, Wehner

Multifamily, LLC, to dismiss, or alternatively, motion for

judgment on the pleadings. The court, having considered the

motion, the response of plaintiff, Andrew Scott Fulkerson, the

record, and applicable authorities, finds that the motion to

dismiss should be granted.

                                                   I.

                                     Plaintiff's Claims

        On October 26, 2018, plaintiff filed his complaint in this

action. Doc. 1 1. In it, he alleges:

        Plaintiff resided in apartment #113 at the Primavera

Apartment Complex in Fort Worth, Texas. Doc. 1,                                ~   1. Defendant

operates the apartment complex. Id.,                        ~   2. The resident of

apartment #413 engaged in drug trafficking activities at the

apartment complex and plaintiff believes he paid rent to


        'The "Doc.   " reference is to the number of the item on the docket in this action.
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defendant's employees to engage in those activities. Id., , 7.

Public records show that there have been 11 firearms-related

incidents at the apartment complex. Id., ,            9. On October 15,

2018, defendant's employee admitted during a jury trial in

Justice of the Peace court that she had signed for a package

shipped to plaintiff without plaintiff's authorization. Id.,

,   10. Defendant is unlawfully using the name "Primavera

Apartments" to do business because it has not filed an assumed

name certificate. Id., , 11. Because plaintiff does not have a

valid assumed name certificate, its eviction proceeding against

plaintiff and others in Justice of the Peace Precinct 8, Case

Number JP08-18-E-95395, was unlawful. Id., , 12.

      Plaintiff purports to assert five causes of action. Count I

says that defendant knowingly and intentionally accepted funds

derived from a state law narcotics felony and caused plaintiff

damages. Doc. 1 at 5. Count II says that defendants [sic] are

liable for state law premises liability for failure to maintain

the gates to their [sic] property. Id. at 5-6. Count III says

that defendant's employee committed a RICO predicate offense in

violation of 18 U.S.C.     §   659. Id. at 6. Count IV says that

defendant filed an eviction against plaintiff with the intent to

corruptly influence, obstruct, or impede the due administration

of justice in violation of 18 U.S.C.       §   1505. Id. at 7. And, Count


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V is titled "Respondeat Superior" and alleges that defendant is

responsible for the actions of its employees. i<:L. at 7-8.

                                    II.

                         Grounds of the Motion

     Defendant maintains that plaintiff has not alleged

sufficient facts to state a plausible claim for relief on any of

his causes of action.

                                   III.

                     Applicable Pleading Standard

     Rule 8 (a) (2) of the Federal Rules of Civil Procedure

provides, in a general way, the applicable standard of pleading.

It requires that a complaint contain "a short and plain statement

of the claim showing that the pleader is entitled to relief,"

Fed. R. Civ. P. B(a) (2), "in order to give the defendant fair

notice of what the claim is and the grounds upon which it rests,"

Bell Atl. Corp. v. Twombly,     550 U.S. 544, 555     (2007)   (internal

quotation marks and ellipsis omitted) . Although a complaint need

not contain detailed factual allegations, the "showing"

contemplated by Rule 8 requires the plaintiff to do more than

simply allege legal conclusions or recite the elements of a cause

of action. Twombly, 550 U.S. at 555 & n.3. Thus, while a court

must accept all of the factual allegations in the complaint as

true,. it need not credit bare legal conclusions that are


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unsupported by any factual underpinnings. See Ashcroft v. Iqbal,

556 U.S. 662, 679        (2009)   ("While legal conclusions can provide

the framework of a complaint, they must be supported by factual

allegations.")

     Moreover, to survive a motion to dismiss for failure to

state a claim, the facts pleaded must allow the court to infer

that the plaintiff's right to relief is plausible. Iqbal, 556

U.S. at 678. To allege a plausible right to relief, the facts

pleaded must suggest liability; allegations that are merely

consistent with unlawful conduct are insufficient. Id. In other

words, where the facts pleaded do no more than permit the court

to infer the possibility of misconduct, the complaint has not

shown that the pleader is entitled to relief. Id. at 679.

"Determining whether a complaint states a plausible claim for

relief .            [is] a context-specific task that requires the

reviewing court to draw on its judicial experience and common

sense.   11
              Id.

     In considering a motion to dismiss for failure to state a

claim, the court may consider documents attached to the motion if

they are referred to in the plaintiff's complaint and are central

to the plaintiff's claims. Scanlan v. Tex. A&M Univ., 343 F.3d

533, 536      (5th Cir. 2003). The court may also refer to matters of

public record. Davis v. Bayless, 70 F.3d 367, 372 n.3          (5th Cir.


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1995); Cinel v. Connick, 15 F.3d 1338, 1343 n.6          (5th Cir. 1994).

This includes taking notice of pending judicial proceedings.

Patterson v. Mobil Oil Corp., 335 F.3d 476, 481 n.1           (5th Cir.

2003). And, it includes taking notice of governmental websites.

Kitty Hawk Aircargo, Inc. v. Chao, 418 F.3d 453, 457           (5th Cir.

2005); Coleman v. Dretke, 409 F.3d 665, 667          (5th Cir. 2005).

                                    IV.

                                 Analysis

     In his response to the motion, plaintiff clarifies that the

basis for his first cause of action (and perhaps others)           is RICO.

Doc. 10. The Racketeer Influenced and Corrupt Organizations Act,

18 U.S.C.   §§   1961-68 ("RICO"), provides a private civil action to

recover damages for injury to one's business or property by the

conduct constituting the violation. Sedima, S.P.R.L. v. Imrex

Co., 473 U.S. 479, 481 (1985). A plaintiff only has standing if

he has been injured in his business or property. Id. at 496. He

must allege a direct, concrete, and particularized injury

proximately caused by defendant's conduct. Sheshtawy v. Gray, 697

F. App'x 380, 382     (5th Cir. 2017). Personal injuries and losses

flowing therefrom are insufficient to establish RICO standing.

Vickers v. Weeks Marine, Inc., 414 F. App'x 656, 657          (5th Cir.

2011); Evans v. City of Chicago, 434 F.3d 916, 931 (7th Cir.

2006) . And, civil rights violations do not constitute


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racketeering activity within the meaning of RICO. Bowen v.

Oistead, 125 F.3d 800, 806     (9th Cir. 1997).

     The prohibited activities under RICO are: Use of income

derived from a pattern of racketeering activity to acquire an

interest in or establish an enterprise engaged in or affecting

interstate commerce    (18 U.S.C.   §       1962(a)); acquisition or

maintenance of any interest in an enterprise through a pattern of

racketeering activity (18 U.S.C.            §   1962(b)); conducting or

participating in the conduct of an enterprise through a pattern

of racketeering activity (18 U.S.C.              §   1962(c)); and conspiring to

violate any of these provisions (18 U.S.C.                §   1962(d)). Sedima,

473 U.S. at 482-83.

     "A pattern of racketeering activity requires two or more

predicate acts and a demonstration that the racketeering

predicates are related and amount to or pose a threat of

continued criminal activity." St. Paul Mercury Ins. Co. v.

Williamson, 224 F.3d 425, 441 (5th Cir. 2000). In other words,

plaintiff must plead facts establishing that at least one of the

defendants has committed two or more predicate acts and the same

defendants will likely continue to commit these acts.

     Section 1961 lists all of the predicate acts that constitute

racketeering activity. 18 U.S.C.            §   1961(1). One of the predicate

acts is dealing in a controlled substance "which is chargeable


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under State law and punishable by imprisonment for more than one

year." 18 U.S.C.    §   1961(1) (A). Another is mail fraud. 18 U.S.C.

§   1961(1) (B). An element of RICO mail fraud is scienter. See St.

Paul Mercury Ins. Co., 224 F.3d at 441. Thus, to adequately

allege mail fraud as a predicate act, plaintiff must allege facts

establishing that the mailing was made with the intent to

defraud. Crowe v. Henry, 115 F.3d 294, 297            (5th Cir. 1997). To

the extent any of the underlying predicate acts are based on

fraud,   they must be pleaded with particularity as required by

Fed. R. Civ. P. 9(b). Tel-Phonic Servs., Inc. v. TBS Int'l, Inc.,

975 F.2d 1134, 1138-39 (5th Cir. 1992).

      An enterprise is a group of persons or entities associating

for the common purpose of engaging in a course of conduct. Whelan

v. Winchester Prod. Co.,      319 F.3d 225, 229       (5th Cir. 2003). The

statute defines "enterprise" as including any individual,

partnership, corporation, association or other legal entity, and

any union or group of individuals associated in fact although not

a legal entity. 18 U.S.C.      §   1961(4). The enterprise must be an

entity separate and apart from the pattern of activity in which

it engages. United States v. Turkette, 452 U.S. 576, 583 (1981).

Moreover,

      The defendant who commits the predicate offenses must
      also be distinct from the enterprise. If the defendant
      is a legal entity, the plaintiff[] must do more than
      merely establish that the corporation, through its

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        agents, committed the predicate acts in the conduct of
        its own business. If the enterprise alleged is an
        "association in fact" enterprise, the plaintiff must
        show evidence of an ongoing organization, formal or
        informal, that functions as a continuing unit over time
        through a hierarchical or consensual decision-making
        structure. The fact that officers or employees of a
        corporation, in the course of their employment,
        associate to commit predicate acts does not establish
        an association-in-fact enterprise distinct from the
        corporation. Finally, the plaintiff must plead specific
        facts which establish that the association exists for
        purposes other than simply to commit the predicate
        acts.

Elliott v. Foufas, 867 FG.2d 877, 881 (5th Cir. 1989) (citations

omitted) .

        In this case, plaintiff has pleaded nothing more than

conclusory allegations to support his RICO claim. He does not

identify the subsection of                   §   1962 he alleges was violated. 2 It

does not appear that plaintiff has standing to assert the claim. 3

Moreover, at most, he has alleged that defendant received

proceeds from the sale of narcotics, not that defendant was part

of an enterprise that was engaged in continuing racketeering

activity as defined by the statute.




        'Presumably, plaintiff relies upon § 1962(c), which requires that he allege (1) conduct, (2) of an
enterprise, (3) through a pattern, (4) of racketeering activity, among other things. Sedima. S.P.R.L. v.
Imrex Co., 473 U.S. 479, 496 (1985).
        3
         The court takes judicial notice of the judgment in the proceeding in the Justice of the Peace
Court, Precinct Eight, to which plaintiff refers in his complaint, which reflects that plaintiff was merely
an occupant of the apmtment described in the complaint and that the tenants failed to pay rent and lost
possession of the premises. Doc. 9, Ex. 1.

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      As for plaintiff's claims regarding violations of 18 U.S.C.

§   659 and 18 U.S.C.   §   1505, violations of criminal statutes do

not give rise to private rights of action. See Grant v. CPC

Logistics Inc., No. 3:12-CV-200-L(BK), 2012 WL 601149, at *l

(N.D. Tex. Feb. 1, 2012), adopted, 2012 WL 601128           (N.D. Tex. Feb.

23, 2012); Paselk v. Bayview Loan Serv., LLC, No. 6:16-CV-1383-

RWS-KNM, 2017 WL 4294130, at *6 (E.D. Tex. Aug. 11, 2017),

adopted, 2017 WL 4285685       (E.D. Tex. Sept. 27, 2017), aff'd, 2018

WL 6839648   (5th Cir. Dec. 28, 2018). To the extent they are

alleged (or intended) to be predicate acts under RICO, plaintiff

has not pleaded sufficient facts to show anything more than that

a particular person did bad things.

      To the extent plaintiff purports to assert a state law claim

for premises liability, the facts alleged show that plaintiff

voluntarily exposed himself to HIV as a result of his providing

aid to a shooting victim. Doc. 1,        ~   18. Nothing about this

incident as described by plaintiff gives rise to a cause of

action against defendant.

      Finally, respondeat superior is not a separate cause of

action, but rather a theory of liability under which an entity is

liable for the acts of its employees. See Cluck v. SVCS-Austin,

L.P., No. A-16-CV-1216-RP, 2017 WL 6459809, at *4 n.6           (W.D. Tex.


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Dec. 15, 2017), accepted, 2018 WL 1278214                             (W.D. Tex. Mar. 9,

2018); Haskett v. Capital Land Servs., Inc., No. 3:14-CV-00279,

2015 WL 12556307, *6 n.2                  (S.D. Tex. Dec.           9, 2015).

        In his response, plaintiff says in passing that he should be

allowed an opportunity to replead before his claims are

dismissed.' However, he has not provided a proposed amended

complaint. Nor does he allege what facts could be pleaded to

support his claims. 5 The court is satisfied that amending the

complaint would be a futile act, given the facts that have

already been pleaded.               In particular,           there is no reason to

believe that plaintiff has not already pleaded his best case. See

Doc. 10 at penultimate page (alleging that discovery might give

rise to evidence to support plaintiff's claims). Further, it does

not appear that plaintiff could establish standing in any event.

And, the enterprise element appears to be made of whole cloth.




        4
        The title of the response does not reflect that it includes a motion for leave to amend. See Local
Civil Rule LR 5.l(c).
        5
          A party who wishes to amend must provide a copy of the proposed amended pleading as an
exhibit to the motion for leave and submit the original and a copy of the amended pleading to the court so
that it can be filed if the motion is granted. See Local Civil Rule LR 15.l(a).

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                                    v.

                                  Order

     The court ORDERS that defendant's motion to dismiss be, and

is hereby, granted, and that plaintiff's claims be, and are

hereby, dismissed.

     SIGNED January 3, 2019.




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